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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA

                     v.                                     Magistrate No. 21-10

 KHALED MIAH


                                    REQUEST FOR DETENTION

               AND NOW comes the United States of America, by its attorneys, Scott W. Brady,

United States Attorney for the Western District of Pennsylvania, and Jessica Lieber Smaolar,

Assistant United States Attorney for said District, and, pursuant to 18 U.S.C. §§ 3142(e) and (f),

hereby requests detention of the above-named defendant, and sets forth the following material

factors in support thereof:

               ☒     1.       That no condition or combination of conditions will reasonably assure

                              the appearance of defendant as required and the safety of any other

                              person and the community because:

                     ☒        a.   Defendant is a danger to any other person or the community,

                                   and/or;

                     ☒        b.   Defendant is a flight risk.

               ☒     2.       That the government is entitled to a detention hearing based upon the

                              following:

                     ☐        a.   Defendant is charged with a crime of violence as defined in 18

                                   U.S.C. § 3156; or

                     ☐        b.   Defendant is charged with an offense for which the maximum

                                   sentence is life imprisonment or death; or
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        ☐   c.   Defendant is charged with an offense for which a maximum term

                 of imprisonment of 10 years or more is prescribed in the

                 Controlled Substances Act (21 U.S.C. § 801 et seq.), the

                 Controlled Substances Import and Export Act (21 U.S.C. § 951 et

                 seq.), or the Maritime Drug Law Enforcement Act (46 U.S.C.

                 App. § 1901 et seq.); or

        ☐   d.   Defendant is presently charged with a felony and has been

                 convicted of two or more offenses described in subparagraph a-c

                 above, or two or more State or local offenses that would have been

                 offenses described in subparagraphs a-c above if a circumstance

                 giving rise to Federal jurisdiction had existed, or a combination of

                 such offenses; or

        ☐   e.   Defendant is charged with a felony which is not a crime of

                 violence, but which involves: a minor victim, possession or use

                 of a firearm or destructive device (as those terms are defined in 18

                 U.S.C. § 921) or any other dangerous weapon, or the failure to

                 register under 18 U.S.C. § 2250 (as required by the Sex Offender

                 Registration and Notification Act); or

        ☒   f.   That a serious risk exists that defendant will flee; or

        ☒   g.   That a serious risk exists that defendant will obstruct or attempt to

                 obstruct justice, or threaten, injure, or intimidate, or attempt to

                 threaten, injure, or intimidate, a prospective witness or juror.
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   ☐    3.   That a rebuttable presumption arises that no condition or combination

             of conditions will reasonably assure the safety of any other person and

             the community, in that the present case involves an offense described in

             paragraphs 2a-2e above and:

        ☐    a.    Defendant has been convicted of a Federal offense described in

                   subsection 2a-2e above, or of a State or local offense that would

                   have been an offense described in subsection 2a-2e above if a

                   circumstance giving rise to Federal jurisdiction had existed; and

        ☐    b.    The offense described in paragraph 3a above was committed while

                   defendant was on release pending trial for a Federal, State or local

                   offense; and

        ☐    c.    A period of not more than five years has elapsed since the date of

                   defendant's conviction or release from imprisonment for the

                   offense described in paragraph 3a, whichever is later.

   ☐    4.   That a rebuttable presumption arises that no condition or combination

             of conditions will reasonably assure the appearance of defendant as

             required and the safety of the community, in that there is probable cause

             to believe that:

        ☐    a.    Defendant committed an offense for which a maximum term of

                   imprisonment of ten years or more is prescribed in the Controlled

                   Substances Act (21 U.S.C. § 801 et seq.), the Controlled

                   Substances Import and Export Act (21 U.S.C. § 951 et seq.), the
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                  Maritime Drug Law Enforcement Act (46 U.S.C. App. § 1901 et

                  seq.);or

        ☐    b.   Defendant committed an offense under 18 U.S.C. §§ 924(c),

                  956(a), or 2332b, or an offense involving a minor victim under

                  Sections         1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

                  2251A,     2252(a)(1),     2252(a)(2),   2252(a)(3),   2252A(a)(1),

                  2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423,

                  or 2425 of Title 18.

   ☐    5.   A Continuance of                    day(s) is requested for the detention

             hearing based upon the following reasons:




   ☐    6.   Good cause for a continuance in excess of three days exists in that:




                                      Respectfully submitted,

                                      SCOTT W. BRADY
                                      United States Attorney




                             By:      s/ Jessica Lieber Smolar
                                      JESSICA LIEBER SMOLAR
                                      Assistant U.S. Attorney
                                      PA ID No. 65406
